Case 8:23-bk-12353-SC   Doc 10 Filed 11/24/23 Entered 11/24/23 21:29:47   Desc
                         Main Document    Page 1 of 5
               Case 8:23-bk-12353-SC                              Doc 10 Filed 11/24/23 Entered 11/24/23 21:29:47                                                                  Desc
                                                                   Main Document    Page 2 of 5
                    Memorial Health Services                  Pay Group:                  H10-Ten Hour Shift/40 Work Week                     Business Unit:              MHS00
                    17360 Brookhurst                          Pay Begin Date:             09/03/2023                                          Advice #:                       74410716
                    Fountain Valley, CA 92708                 Pay End Date:               09/16/2023                                          Advice Date:                09/22/2023


                                                                                                                                              TAX DATA:                     Federal           CA State
 Elizabeth Matias                               Employee ID:         163821                                                                   Marital Status:                Single           S/M-2 inc
 13902 parkway dr                               Department:          861045-MemorialCare Navigation Center                                    Allowances:                    0                1
 Garden grove, CA 92843                         Location:            MCSS-MemorialCare Shared Svcs                                            Addl. Pct.:
 ***-**-7605                                    Job Code(s):         M-0039
                                                                                                                                              Addl. Amt.:
                                                JobPayRate(s):       23.76

                                                  HOURS AND EARNINGS                                                                                                      TAXES
                                                              ------Pay Period------                   ---------- Current ----------
Deptid JobCode Description                                            Begin Date   End Date       Rate         Hours            Earnings       Description                    Current                  YTD
861045 / M-0039 / FL Family Leave/PTO                                                              23.76          4.89               116.19   Fed Withholdng                   0.00                  999.68
861045 / M-0039 / FU Family Leave Unpaid Ho                                                                      32.00                 0.00   Fed MED/EE                       4.46                  272.31
861045 / M-0039 / FU Family Leave Unpaid Ho                                                                       8.00                 0.00   Fed OASDI/EE                    19.08                1,164.38
861045 / M-0039 / FU Family Leave Unpaid Ho                                                                       3.05                 0.00
                                                                                                                                              CA Withholdng                    0.00                  212.86
861045 / M-0039 / ST * Straight Time                                                               23.76          8.06               191.51
                                                                                                                                              CA OASDI/EE                      2.77                  169.02




TOTAL: (* Hours worked were 8.06)                                                                         56.00                   307.70      Total                      26.31                     2,818.25
                 BEFORE-TAX DEDUCTIONS                                              AFTER-TAX DEDUCTIONS                                                     EMPLOYER PAID BENEFITS
 Description                      Current             YTD      Description                        Current                            YTD      Description                 Current                      YTD
 401K Employee Contribution         3.08             187.78                                                                                   Life & AD&D                    1.04                      19.12
                                                                                                                                              Long Term Disability           4.47                      48.13




 Total:                               3.08           187.78 Total:                                       0.00         0.00                    *Taxable
                                  TOTAL GROSS       FED TAXABLE GROSS                                        TOTAL TAXES                            TOTAL DEDUCTIONS                           NET PAY
 Current                                 307.70                      304.62                                          26.31                                        3.08                            278.31
 YTD                                  18,780.27                   18,592.49                                       2,818.25                                      187.78                         15,774.24

 OTHER BALANCES                                                                                                                                                 NET PAY DISTRIBUTION
 Total PTO Hours:                                                      1.25                                                                                     Advice # 74410716                    278.31
 PTO Hours Accrued this Pay Period:                                    1.25
 PTO Accrual Rate (Per Hour):                                     0.096154                                                                                      Total:                               278.31
 CA Paid Sick Leave(Per Diem):                                        00.00
 KinCare (1/2 PTO accrual):                                            1.25
 Employee Retirement Deduction %:                                      N/A
 Retirement Qualifying Hours:                                        809.87




MESSAGE:




           Memorial Health Services                                             Date: 09/22/2023                                           Advice No. 74410716
           17360 Brookhurst
           Fountain Valley, CA 92708

           Deposit Amount: $278.31

            To The                                                                                   DIRECT DEPOSIT DISTRIBUTION
            Account(s) Of        861045-MemorialCare Navigation Center                               Account Type                 Account Number                                         Deposit
                                 ELIZABETH MATIAS                                                                                                                        Amount
                                 13902 parkway dr                                                    Checking                     *****1703                                                  278.31
                                 Garden grove, CA 92843                                              Total:                                                                                  278.31
                                 Location: MCSS-MemorialCare Shared Svcs

                                                                             NON-NEGOTIABLE
Case 8:23-bk-12353-SC   Doc 10 Filed 11/24/23 Entered 11/24/23 21:29:47   Desc
                         Main Document    Page 3 of 5
Case 8:23-bk-12353-SC   Doc 10 Filed 11/24/23 Entered 11/24/23 21:29:47   Desc
                         Main Document    Page 4 of 5
Case 8:23-bk-12353-SC   Doc 10 Filed 11/24/23 Entered 11/24/23 21:29:47   Desc
                         Main Document    Page 5 of 5
